      Case 3:17-cv-02366-BAS-KSC      Document 508-2   Filed 08/03/20   PageID.34613
                                        Page 1 of 9



 1 ETHAN P. DAVIS
 2 Acting Assistant Attorney General
   Civil Division
 3 WILLIAM C. PEACHEY
 4 Director, Office of Immigration Litigation –
   District Court Section
 5 KATHERINE J. SHINNERS (DC 978141)
 6 Senior Litigation Counsel
   ALEXANDER J. HALASKA (IL 6327002)
 7 Trial Attorney
 8 United States Department of Justice
   Civil Division
 9
   Office of Immigration Litigation
10 P.O. Box 868, Ben Franklin Station
11 Washington, D.C. 20044
   Tel: (202) 307-8704 | Fax: (202) 305-7000
12 alexander.j.halaska@usdoj.gov
13
   Counsel for Defendants
14
15                    UNITED STATES DISTRICT COURT
16              FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                                (San Diego)
17
18 AL OTRO LADO, Inc., et al.,               Case No. 3:17-cv-02366-BAS-KSC
19                           Plaintiffs,
20
                       v.                    GOVERNMENT EXHIBIT 1
21
22 Chad F. WOLF, Acting Secretary of
   Homeland Security, in his official
23
   capacity, et al.,
24
25                         Defendants
26
27
28
Case 3:17-cv-02366-BAS-KSC                    Document 508-2                Filed 08/03/20             PageID.34614
                                                Page 2 of 9

From:            Caudill-Mirillo, Ashley B
To:              RAIO - Asylum Field Office Staff; RAIO - Asylum Field Office Managers; RAIO - Asylum HQ
Cc:              RAIO - Asylum HQ Leadership; RAIO - Executive Leadership; RefugeeAffairsTDY; Johnson, Bobbie L; Wright,
                 Charles E
Subject:         RE: Updated Guidance on Credible Fear Processing Pursuant to Al Otro Lado Litigation - FOR INTERNAL USE
                 ONLY
Date:            Monday, March 16, 2020 12:22:37 PM
Attachments:     Al Otro Lado Processing Guidance for Retrospective Completed CF cases FINAL 2020-03-14.docx
                 Not Metered Memo to File 2019-12-19 FINAL.docx


FOR INTERNAL USE ONLY

Colleagues,

The guidance for completed (“retrospective”) credible fear cases that have not already been
screened for Al Otro Lado class membership has been finalized. This guidance applies to cases
decided between July 16, 2019 and March 5, 2020 where the IFR Third Country Transit bar was
applied and the metering questions have not already been asked. See attached guidance. Beginning
today, ICE will be sending lists of approximately 670 individuals total who should be screened for
AOL class to your pre-existing local APSO POCs. Individuals or their attorneys may also affirmatively
assert Al Otro Lado class membership to ICE and/or USCIS. Please begin screening retrospective
cases as described above pursuant to the attached guidance.

Please address any questions or concerns to Asylum HQ through your chain of command.

Thanks,
Ashley

Ashley Caudill-Mirillo
Deputy Chief
Asylum Division
Refugee, Asylum, and International Operations
U.S. Citizenship and Immigration Services



From: Caudill-Mirillo, Ashley B                    @uscis.dhs.gov>
Sent: Thursday, March 5, 2020 10:57 PM
To: RAIO - Asylum Field Office Staff         @uscis.dhs.gov>; RAIO - Asylum Field Office
Managers                                    @uscis.dhs.gov>; RAIO - Asylum HQ
       @uscis.dhs.gov>
Cc: RAIO - Asylum HQ Leadership                            @uscis.dhs.gov>; RAIO - Executive
Leadership                            @uscis.dhs.gov>; RefugeeAffairsTDY
                  @uscis.dhs.gov>; Johnson, Bobbie L                   @uscis.dhs.gov>; Wright,
Charles E                   @uscis.dhs.gov>
Subject: RE: Updated Guidance on Credible Fear Processing Pursuant to Al Otro Lado Litigation - FOR
INTERNAL USE ONLY
Importance: High
Case 3:17-cv-02366-BAS-KSC               Document 508-2         Filed 08/03/20       PageID.34615
                                           Page 3 of 9


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Dear Colleagues,

On March 5, 2020, the U.S. Court of Appeals for the Ninth Circuit issued the attached order in Al
Otro Lado v. Wolf (AOL), No. 19-56417 (Mar. 5, 2020), denying the government’s request for a stay,
and allowing the district court’s preliminary injunction to go into effect. The district court’s
injunction halted the application of the Third Country Transit Asylum Bar IFR, 8 CFR 208.13(c)(4), to
individuals who attempted to enter at a POE before July 16, 2019, but were unable to do so because
of “metering.”

Effective immediately, we must implement the attached AOL v. Wolf processing guidance, which
includes asking the AOL metering questions to all non-Mexican credible fear applicants. This
guidance applies to all prospective cases (i.e., new CF cases that have not been served a decision),
and to any decisions already issued on March 5, 2020. Guidance for retrospective cases (i.e., CF
determinations served before March 5, 2020), will be provided at a later date.

The focus of these questions is on whether the individual was subject to CBP’s queue management
practices before July 16, 2019. If after answering these questions, the individual has established that
it is more likely than not that he or she was metered before July 16, 2019, then the individual is
determined to be an Al Otro Lado class member and USCIS cannot apply the Third Country Transit
Asylum Bar IFR, and their claims will be assessed under the lower “significant possibility” standard
consistent with pre-Third Country Transit Asylum Bar IFR procedures.

Attached please find the relevant guidance (as updated on December 19, 2019 and distributed on
12/21):

   1. Al Otro Lado Guidance (Outlining New Case Processing) – 12.19.19
   2. USCIS Metering Questions - 11.22.19
   3. I-870 Annotated - 7.16.19 (updated)
   4. Third-Country Transit Bar Worksheet (8 CFR 208.13(c)(4)) – 7.16.19

Please note that the previously updated guidance (dated 12/19/19) requires the following: The
metering questions and the individual’s responses must be documented in Q&A notes. The asylum
officer must orally summarize the individual’s responses to the metering questions, ask the
individual to confirm the accuracy of the summary, and provide the individual the opportunity to
make any corrections. Asylum officers must further document in the Q&A notes that the individual
was provided a summary of their responses to the metering questions, was provided the
opportunity to make corrections, and confirmed the accuracy of the summary.

Please raise any questions or concerns with this guidance through your chain of command to the
Operations and Quality Assurance Branches at Asylum Division Headquarters.

Thanks,
Case 3:17-cv-02366-BAS-KSC                Document 508-2           Filed 08/03/20       PageID.34616
                                            Page 4 of 9

Ashley

Ashley Caudill-Mirillo
Deputy Chief
Asylum Division
Refugee, Asylum, and International Operations
U.S. Citizenship and Immigration Services

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From: Caudill-Mirillo, Ashley B
Sent: Sunday, December 29, 2019 3:28 PM
To: RAIO - Asylum Field Office Staff          @uscis.dhs.gov>; RAIO - Asylum Field Office
Managers                                     @uscis.dhs.gov>; RAIO - Asylum HQ
       @uscis.dhs.gov>
Cc: RAIO - Asylum HQ Leadership                              @uscis.dhs.gov>; RAIO - Executive
Leadership                            @uscis.dhs.gov>; RefugeeAffairsTDY
                  @uscis.dhs.gov>; Johnson, Bobbie L                    @uscis.dhs.gov>; Wright,
Charles E                   @uscis.dhs.gov>; Mura, Elizabeth E                  @uscis.dhs.gov>
Subject: RE: Updated Guidance on Credible Fear Processing Pursuant to Al Otro Lado Litigation - FOR
INTERNAL USE ONLY

FOR INTERNAL USE ONLY

Dear Colleagues,

On December 20, 2019, the U.S. Court of Appeals for the Ninth Circuit granted a temporary stay of
the district court’s injunction in Al Otro Lado v. Wolf (AOL), which halted the application of the Third
Country Transit Asylum Bar IFR (8 CFR 208.13(c)(4)) to individuals who attempted to enter at a POE
before July 16, 2019, but were unable to do so because of “metering.”

Effective immediately, DHS must return to pre-AOL preliminary injunction processing (i.e., CF
processes before my 11/24/2019 email, titled “Updated Guidance on Credible Fear Processing
Pursuant to Al Otro Lado Litigation – FOR INTERNAL USE ONLY.)” This guidance will be updated, as
needed, in light of the AOL litigation.  

For all prospective cases (i.e., new CF cases that have not been served a decision):

    1.       CF Cases Pending Interview: Asylum officers should NOT follow the 11/24/2019 guidance.
            For example, do not ask the metering questions, do not update Global with the “no bar –
            AOL code,” and do not update documentation as described in that guidance.
            o   If an individual affirmatively asserts, either orally or in writing, that they were metered
                  or are a part of the AOL case, the AO must enter in the Decision Notes,
                  VOLUNTEERED METERED/AOL when completing the Decision card in Global. The AO
                  should then continue to apply the Third Country Transit Asylum Bar IFR, including
                  any relevant exceptions, and follow pre-11/24 processing instructions.
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            o   If an individual does not affirmatively assert, either orally or in writing, that they were
                  metered or are a part of the AOL case, the AO must continue to apply the Third
                  Country Transit Asylum Bar IFR, including any exceptions, and follow pre-11/24
                  processing instructions.


    2.       Post-Interview CF Cases Pending Decision/Service (metering questions already asked):
            o   If an AO found that the individual met the provisional class definition prior to service,  
                  the AO should enter in the Decision Notes, POTENTIAL METERED/AOL. However, the
                  AO should apply the Third Country Transit Asylum Bar IFR, including any exceptions,
                  and follow pre-11/24 processing instructions. In addition, retain the USCIS Metering
                  questions in the A-file.
            o   If an AO found that the individual did not meet the provisional class definition prior to
                  service, the AO should enter in the Decision Notes, NOT METERED. The AO should
                  apply the Third Country Transit Asylum Bar IFR, including any exceptions, and follow
                  pre-11/24 processing instructions. In addition, retain the USCIS Metering questions
                  in the A-file.
For retrospective cases (i.e., previously served CF cases):

    1.       Do not schedule these individuals, who were previously served CF determinations, for
            additional metering screening until further notice.  


Please raise any questions or concerns with this guidance through your chain of command to the
Operations Branch at Asylum Division Headquarters.

Thanks,
Ashley

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From: Caudill-Mirillo, Ashley B
Sent: Saturday, December 21, 2019 1:59 PM
To: RAIO - Asylum Field Office Staff          @uscis.dhs.gov>; RAIO - Asylum Field Office
Managers                                     @uscis.dhs.gov>; RAIO - Asylum HQ
       @uscis.dhs.gov>
Cc: RAIO - Asylum HQ Leadership                              @uscis.dhs.gov>; RAIO - Executive
Leadership                            @uscis.dhs.gov>; RefugeeAffairsTDY
                  @uscis.dhs.gov>; Johnson, Bobbie L                    @uscis.dhs.gov>; Wright,
Charles E                   @uscis.dhs.gov>; Mura, Elizabeth E                  @uscis.dhs.gov>
Subject: RE: Updated Guidance on Credible Fear Processing Pursuant to Al Otro Lado Litigation - FOR
INTERNAL USE ONLY

FOR INTERNAL USE ONLY

Dear colleagues,

Please see the attached AOL v. Wolf processing guidance for immediate implementation. First, the
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guidance for new (“prospective”) credible fear cases has been updated. See attached guidance
updated December 19, 2019. The updates include: The metering questions and the individual’s
responses must be documented in Q&A notes. The asylum officer must orally summarize the
individual’s responses to the metering questions, ask the individual to confirm the accuracy of the
summary, and provide the individual the opportunity to make any corrections. Asylum officers must
further document in the Q&A notes that the individual was provided a summary of their responses
to the metering questions, was provided the opportunity to make corrections, and confirmed the
accuracy of the summary.

Second, guidance for completed (“retrospective”) credible fear cases that have not already been
screened for Al Otro Lado class membership has been finalized. See attached guidance. We are also
attaching ICE’s preliminary master list of individuals who should be screened for AOL class
membership for your reference. The password will follow under a separate subject heading. ICE will
be updating this list and we will provide it when it’s available. Please begin screening retrospective
cases referred to you by ICE pursuant to the attached guidance.

Please address any questions or concerns to Asylum HQ through your chain of command.
       
Thanks,
Ashley

Ashley Caudill-Mirillo
Deputy Chief
Asylum Division
Refugee, Asylum and International Operations
U.S. Citizenship and Immigration Services

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From: Mura, Elizabeth E                     @uscis.dhs.gov>
Sent: Tuesday, November 26, 2019 10:17 AM
To: Caudill-Mirillo, Ashley B                      @uscis.dhs.gov>; RAIO - Asylum Field Office Staff
            @uscis.dhs.gov>; RAIO - Asylum Field Office Managers
                              @uscis.dhs.gov>; RAIO - Asylum HQ               @uscis.dhs.gov>
Cc: RAIO - Asylum HQ Leadership                               @uscis.dhs.gov>; RAIO - Executive
Leadership                              @uscis.dhs.gov>; RefugeeAffairsTDY
                    @uscis.dhs.gov>
Subject: RE: Updated Guidance on Credible Fear Processing Pursuant to Al Otro Lado Litigation - FOR
INTERNAL USE ONLY
Importance: High

FOR INTERNAL USE ONLY

Good morning,
Case 3:17-cv-02366-BAS-KSC                           Document 508-2   Filed 08/03/20   PageID.34619
                                                       Page 7 of 9

Please see the following guidance from OCC for immediate implementation addressing how to
handle cases of individuals who were interviewed on or after 11/20/19 and would have the bar
applied, but who have not yet been served with a screening determination.



        Attorney-Client Privileged


Please address any questions or concerns to Asylum HQ through your chain of command to Asylum
HQ.

Thanks,
Beth

FOR INTERNAL USE ONLY

Elizabeth E. Mura
Operations Branch Chief - Asylum Division
Refugee, Asylum and International Operations Directorate
Dept. of Homeland Security/U.S. Citizenship & Immigration Services
                 @uscis.dhs.gov
Desk:
Mobile:


From: Caudill-Mirillo, Ashley B                    @uscis.dhs.gov>
Sent: Sunday, November 24, 2019 9:26 PM
To: RAIO - Asylum Field Office Staff        @uscis.dhs.gov>; RAIO - Asylum Field Office
Managers                                   @uscis.dhs.gov>; RAIO - Asylum HQ
       @uscis.dhs.gov>
Cc: RAIO - Asylum HQ Leadership                            @uscis.dhs.gov>; RAIO - Executive
Leadership                           @uscis.dhs.gov>; RefugeeAffairsTDY
                  @uscis.dhs.gov>
Subject: Updated Guidance on Credible Fear Processing Pursuant to Al Otro Lado Litigation - FOR
INTERNAL USE ONLY

FOR INTERNAL USE ONLY

Dear Colleagues,

On November 19th, the U.S. District Court for the Southern District of California issued an
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order granting provisional class certification and a preliminary injunction in Al Otro Lado v.
Wolf, a lawsuit that seeks to prevent DHS from applying the Third Country Transit Asylum bar
to individuals who attempted to enter at a POE before July 16, 2019, but were unable to do so
due to the CBP queue management practice known as “metering.”

The Court’s order is attached, and the pertinent language is copied below:

        For the reasons stated above, the Court GRANTS Plaintiffs’ Motion for Provisional
        Class Certification (ECF No. 293). The Court provisionally certifies a class consisting
        of “all non-Mexican asylum-seekers who were unable to make a direct asylum claim at
        a U.S. POE before July 16, 2019 because of the U.S. Government’s metering policy,
        and who continue to seek access to the U.S. asylum process.”

        Furthermore, the Court GRANTS Plaintiffs’ Motion for a Preliminary Injunction (ECF
        No. 294) and orders the following: Defendants are hereby ENJOINED from applying
        the Asylum Ban to members of the aforementioned provisionally certified class and
        ORDERED to return to the pre-Asylum Ban practices for processing the asylum
        applications of members of the certified class.

        IT IS SO ORDERED.

To comply with this order, asylum officers must immediately use the attached list of questions when
conducting credible fear interviews for non-Mexican nationals. Consistent with the provisional class
defined above, the focus of these questions is on whether the individual was subject to CBP’s queue
management practices before 7/16/19.  

If, after answering these questions, the individual has established that it is more likely than not that
he or she was metered before 7/16/19, then the individual is determined to be an Al Otro Lado class
member and USCIS cannot apply the Third Country Transit Asylum Bar IFR, and their claims will be
assessed under the lower “significant possibility” standard consistent with pre-Third Country Transit
Asylum Bar IFR procedures.

As this order is effective immediately, asylum officers must be given time to review the attached
guidance before conducting a credible fear interview of a non-Mexican national. The attached files
include:
    1.       Al Otro Lado Guidance (Outlining Case Processing)
    2.       Al Otro Lado Court Order
    3.       USCIS Metering Questions
    4.       I-870 Annotated
    5.       Third-Country Transit Bar Worksheet (8 CFR 208.13(c)(4))

Additional guidance will be shared as soon as it is available. Please direct any questions or concerns
to HQ Asylum through your chain of command.

Sincerely,
Ashley Caudill-Mirillo
Case 3:17-cv-02366-BAS-KSC            Document 508-2   Filed 08/03/20   PageID.34621
                                        Page 9 of 9


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Ashley Caudill-Mirillo
Deputy Chief
Asylum Division
Refugee, Asylum, and International Operations
